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                UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
                       TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                 Case No. 8:20-mj-1518-T-60-AEP

MUHAMMED MOMTAZ AL-AZHARI
______________________________________/
OBJECTION TO MAGISTRATE JUDGE’S PRELIMINARY HEARING DECISION

      NOW COMES Defendant, Muhammed Momtaz Al-Azhari, by and

through undersigned counsel, and objects under Fed. R. Crim. P. 59(b)

to the magistrate judge’s decision on Mr. Al-Alzhari’s motion to

reconsider her preliminary hearing decision.

                          MEMORANDUM OF LAW

                               BACKGROUND

      The Government filed a criminal complaint in this case alleging

that Mr. Al-Azhari attempted to provide material support to a foreign

terrorist organization (FTO), in violation of 18 U.S.C. § 2339B. Mr. Al-

Azhari was arrested, and a magistrate judge held a preliminary hearing

on May 27, 2020. (Doc. 13).

      The complaint is accompanied by a 62-page affidavit executed by

Federal Bureau of Investigation (FBI) Special Agent Cynthia Hazel.
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The evidence relied upon by the Government at the preliminary

hearing, Agent Hazel’s testimony, was largely redundant with the

affidavit. To summarize this testimony, the Islamic State in Iraq and

al-Sham (ISIS) is a well-known FTO that has committed atrocities and

terrorism. Its propaganda encourages its followers who cannot join in

its military operations overseas to engage in “lone wolf” attacks where

they live.

      Mr. Al-Azhari is a United States citizen. According to the

Government’s multi-level hearsay evidence, while living in Saudi

Arabia, Mr. Al-Azhari was convicted of “possessing extremist

propaganda,” “holding extremist views,” and attempting to join an

organization called Jaysh al-Islam. (R. at 33-34) (“R.” citations are to

the transcript of the preliminary hearing). Jaysh al-Islam is a rebel

group fighting in the Syrian civil war against tyrant Bashar Assad’s

government forces. (Doc. 18-1). At least at the time of Mr. Al-Azhari’s

detention in Saudi Arabia, Jaysh al-Islam was supported by the U.S.

State Department and the very country that detained Mr. Al-Azhari,

Saudi Arabia. (Id.). Mr. Al-Azhari explained to the Pretrial Services


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Officer that the Saudis tortured him while he was detained, a fact

confirmed by a relative. (Pretrial Serv. Rep. at 3). Mr. Al-Azhari is 23

years old now; he was a child when he was first imprisoned and

tortured. (See id. at 2).

      The FBI began surveilling Mr. Al-Azhari from the moment he

returned to the United States, after he was removed from Saudi Arabia,

in 2018. (R. at 10). The Government’s evidence included no evidence of

anything of note until April 20, 2020. Then, the Government’s evidence

indicated Mr. Al-Azhari attempted to buy a legal gun part on Ebay.

(Doc. 5, p. 1; R. at 10-11). The FBI posed as the seller and, for a time,

discussed with him the sale and barter of firearms. After Mr. Al-Azhari

was arrested for carrying a concealed pistol, he called off the deal. (Doc.

5, p. 21).

      The Government offered that Mr. Al-Azhari made internet

purchases it says are consistent with the creation of a silencer, and that

he expressed unorthodox views to co-workers, including statements in

support of the 9/11 attacks and Omar Mateen, who committed a mass

shooting at the Pulse nightclub in Orlando, Florida. The Government


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also offered that Mr. Al-Azhari drove to Honeymoon Island beach and

local FBI headquarters to scout those locations as targets (so it says),

and to the Pulse nightclub. The Government offered that Mr. Al-Azhari

consumed ISIS propaganda and news, and made a video on his phone

playacting a terrorist scene. (R. at 9, 16-18).

      Lastly, the Government offered that it introduced Mr. Al-Azhari to

a paid informant, who discussed ISIS and jihad with Mr. Al-Azhari. In

speaking to this informant, on May 22, 2020, the Government offered

that Mr. Al-Azhari said, “I want to be ISIS.” (R. at 41). The

Government also offered that, on May 23, 2020, Mr. Al-Azhari, in

discussing jihadist beliefs with the informant, said, “I am ISIS.”

However, Agent Hazel agreed that Mr. Al-Azhari did not join ISIS

“overnight.” (R. at 41). The Government offered that the paid

informant and Mr. Al-Azhari discussed a broad-ranging array of acts

they could commit with guns, including robbing banks, killing police

officers, and committing an attack similar to Mateen’s. (R. at 63-64).

Agent Hazel testified that the informant offered to facilitate the sale to




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Mr. Al-Azhari of a pistol and silencer, and, when the sale was

consummated, the FBI arrested Mr. Al-Azhari. (R. at 23).

      On cross-examination Agent Hazel admitted that Mr. Al-Azhari

never attempted to provide any currency, monetary instruments,

financial securities, lodging, training, expert advice or assistance, safe

houses, false identification documents, communications equipment,

facilities, weapons, lethal substances, explosives, or transportation to

ISIS. (R. at 36-39). Agent Hazel testified that Mr. Al-Azhari attempted

to provide only “personnel,” in the form of himself, to ISIS. (R. at 39).

      However, Agent Hazel testified that Mr. Al-Azhari acted

independently of ISIS:

            Q. You describe Mr. Al-Azhari as a lone wolf
            terrorist, correct?

            A. Yes.

            ....

            Q. All right. And what you mean by that, at least
            for example, is he wasn’t sent here by ISIS,
            correct?

            A. Correct.

            Q. And he wasn’t trained by ISIS?

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            A. No.

            Q. He wasn’t under ISIS’s control?

            A. No.

            Q. He wasn’t taking direction from ISIS?

            A. No.

            Q. He didn’t organize anything for ISIS?

            A. Well, he – it appears he recruited [the
            informant] to help him in his attack on behalf of
            ISIS.

            Q. Okay. But he didn’t do that at the direction of
            anyone from ISIS, correct?

            A. Correct.

            Q. All right. He didn’t supervise anything for
            ISIS?

            A. No.

            Q. He didn’t direct operations for ISIS?

            A. No.

            Q. And certainly you think he – he sympathized
            with ISIS, correct?

            A. Yes.


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            Q. And you think he wanted to advance those
            goals, correct?

            A. Yes.

            ....

            Q. All right. And as a lone – but as a lone wolf, he
            -- he acted independently of ISIS, correct?

            A. Yes.

            Q. All right. And he was just seeking to achieve
            their -- their goals on his own?

            A. Yes.

(R. at 39-41).

      The magistrate judge found probable cause that Mr. Al-Azhari

committed the offense of attempting to provide material support to an

FTO. (R. at 58-59). However, she permitted the parties to file citations

of authority (without briefing) in support of their positions. (R. at 58-

60). The parties did so, and, in addition, on June 3, 2020, Mr. Al-

Alzhari moved the magistrate judge to reconsider her preliminary-

hearing finding. (Doc. 19). On June 8, 2020, the magistrate judge

issued an order re-affirming her finding of probable cause, and on June

9, 2020, she denied the Defense motion to reconsider. (Doc. 23-24).

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                                  ARGUMENT

      The magistrate judge erred in finding probable cause that Mr. Al-

Azhari committed the offense of attempting to provide material support

to an FTO because the Government presented no evidence in any form

that Mr. Al-Azhari attempted to work under the direction or control of

ISIS. Generally, a magistrate judge must hold a preliminary hearing if

a defendant is charged by complaint and has not yet been indicted. See

Fed. R. Crim. P. 5.1(a). If the Government fails to show probable cause

that the defendant committed the crime, the magistrate judge must

dismiss the complaint and discharge the defendant. Fed. R. Crim. P.

5.1(f).

      A magistrate judge may be referred any “matter that may dispose

of a charge or defense.” Fed. R. Crim. P. 59(b)(1). Preliminary hearings

under Rule 5.1 have been referred to magistrate judges in this district.

Local R. 6.01(c)(5). A party may object to a magistrate judge’s findings

and recommendations within 14 days of their issuance. Fed. R. Crim.

P. 59(b)(2). 1 Accordingly, the district court may review a magistrate


1The magistrate judge in this case did not issue a report and recommendation.
However, a magistrate judge who finds no probable cause at a preliminary hearing is
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judge’s decision at a preliminary hearing. Wright & Miller, Federal

Practice and Procedure: Criminal § 92 (4th ed. 2020); cf. United States

v. Brigham, 569 F.3d 220, 226 (5th Cir. 2009) (affirming the district

court’s review of a magistrate judge’s probable cause determination at a

preliminary hearing under Fed. R. Crim. P. 32.1). The district court

must review the objections de novo. Fed. R. Crim. P. 59(b)(3).

      The statute under which Mr. Al-Alzhari is charged provides:

             Whoever knowingly provides material support or
             resources to a foreign terrorist organization, or
             attempts or conspires to do so, shall be fined under
             this title or imprisoned not more than 20 years, or
             both, and, if the death of any person results, shall
             be imprisoned for any term of years or life. To
             violate this paragraph, a person must have
             knowledge that the organization is a designated
             terrorist organization . . ., that the organization
             has engaged or engages in terrorist activity . . ., or
             that the organization has engaged or engages in
             terrorism . . . .

18 U.S.C. § 2339B(a)(1). “The term ‘material support or resources’ has

the same meaning given that term in section 2339A (including the



directed to dismiss the complaint and discharge the defendant. Fed. R. Crim. P.
5.1(f). Such a hearing is therefore “dispositive” within the meaning of Rule 59 because
it is a “matter which may dispose of a charge . . . .” See Fed. R. Crim. P. 59(b)(1).
Whatever form the magistrate judge’s decision takes, review in this Court is de novo.
See Fed. R. Crim. P. 59(b)(3).
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 definitions of ‘training’ and ‘expert advice or assistance’ in that

 section) . . . .” 18 U.S.C. § 2339B(g)(4). Section 2339A, in turn,

 provides:

             (1) the term “material support or resources”
             means any property, tangible or intangible, or
             service, including       currency or monetary
             instruments or financial securities, financial
             services, lodging, training, expert advice or
             assistance, safehouses, false documentation or
             identification,    communications      equipment,
             facilities, weapons, lethal substances, explosives,
             personnel (1 or more individuals who may be or
             include oneself), and transportation, except
             medicine or religious materials;

             (2) the term “training” means instruction or
             teaching designed to impart a specific skill, as
             opposed to general knowledge; and

             (3) the term “expert advice or assistance” means
             advice or assistance derived from scientific,
             technical or other specialized knowledge.

 18 U.S.C. § 2339A(b) (emphasis added).

      Section 2339B continues:

             Provision of Personnel. – No person may be
             prosecuted under this section in connection with
             the term “personnel” unless that person has
             knowingly provided, attempted to provide, or
             conspired to provide a foreign terrorist
             organization with 1 or more individuals (who may

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             be or include himself) to work under that terrorist
             organization’s direction or control or to organize,
             manage, supervise, or otherwise direct the
             operation of that organization. Individuals who
             act entirely independently of the foreign terrorist
             organization to advance its goals or objectives
             shall not be considered to be working under the
             foreign terrorist organization’s direction and
             control.

 18 U.S.C. § 2239B(h). 2

       Mr. Al-Azhari is charged with an attempt under this statute. “To

 establish an attempt as a crime, proof is required: (1) that the

 defendant intended to commit the underlying criminal offense with the

 requisite mens rea, and (2) that the defendant engaged in conduct which

 constituted a substantial step toward the commission of that crime and

 which strongly corroborates the defendant’s criminal intent.” United

 States v. Rothenberg, 610 F.3d 621, 626 (11th Cir. 2010) (citations

 omitted).

       Applying the Rothenberg formulation to § 2339B, the Government

 had to show probable cause that (1) Mr. Al-Azhari intended to provide


 2Subsection (h) does not provide an affirmative defense that must be proved by the
 defendant; the burden is the Government’s. United States v. Shafi, 252 F. Supp. 3d
 787, 792-93 (N.D. Cal. 2017); United States v. Pugh, No. 15-CR-116 (NGG), 2015 WL
 9450598, at *11 (E.D.N.Y. 2015).
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 himself or someone else to work under ISIS’s direction or control, or to

 organize, manage, supervise, or otherwise direct the operations of ISIS,

 knowing that ISIS is a designated FTO, engages in terrorist activity, or

 engages in terrorism, and (2) Mr. Al-Azhari engaged in conduct that

 constituted a substantial step toward providing himself or someone else

 to work under ISIS’s direction or control, or to organize, manage,

 supervise, or otherwise direct the operation of ISIS, that strongly

 corroborated his intent. See 18 U.S.C. §§ 2339B(a)(1), (h), 2339A(b);

 Rothenberg, 610 F.3d at 626. Conversely, if there is no probable cause

 that Mr. Al-Azhari intended to provide himself or someone else to work

 under ISIS’s direction or control, or took any step toward doing so, the

 evidence is lacking, even if Mr. Al-Azhari sympathized with ISIS and

 attempted to advance the organization’s goals independently, through

 attacks or otherwise. See 18 U.S.C. § 2339B(h).

       Eleventh Circuit cases considering § 2339B illustrate the point.

 See United States v. Suarez, 893 F.3d 1330, 1334-35 (11th Cir. 2018);

 United States v. Augustin, 661 F.3d 1105, 1119-22 (11th Cir. 2011). In

 Suarez, the defendant coordinated directly with individuals he believed


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 to be members of ISIS in order to acquire a bomb, and accepted the

 bomb while reiterating his plan to detonate it on a crowded beach.

 Suarez, 893 F.3d at 1334-35. On these facts, the court held that the

 evidence was sufficient to sustain a conviction for attempting to violate

 § 2339B. Id. Suarez was guilty because he attempted to make himself

 “personnel” of ISIS by placing himself under the organization’s direction

 and control to conduct an attack, and only failed to do so because the

 people with whom he was interacting were not really ISIS members.

      Similarly, in Augustin, the defendants were charged with

 conspiracy to violate § 2339B. They met with an FBI informant who

 was posing as an Al Qaeda operative and liaison to that organization.

 The defendants and the informant discussed various attacks they would

 commit for the organization, and conducted reconnaissance and

 intelligence gathering at planned targets. At the informant’s demand,

 the defendants took a prepared oath of allegiance to Al Qaeda in

 preparation for the attacks. The court affirmed the convictions, but

 noted that the evidence was “far from overwhelming.” Augustin, 661

 F.3d at 1119-22.


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       Thus, as Suarez and Augustin teach, to be guilty of an inchoate

 crime of attempt or conspiracy under § 2339B, the defendant must in

 some way endeavor to place himself or someone else under the FTO’s

 direction and control. Generally, this will involve some level of

 communication between the defendant and an agent or perceived agent

 of the FTO, as in Suarez and Augustin, or some thwarted effort to join

 the FTO on the battlefield overseas, see, e.g., United States v. Mehanna,

 735 F.3d 32, 43-46 (1st Cir. 2013) (affirming conspiracy conviction

 where the defendant traveled to Yemen to join an al Qaeda training

 camp as a recruit); United States v. Farhane, 634 F.3d 127, 150 (2d Cir.

 2011) (affirming conviction where the defendant took an oath to act as a

 battlefield doctor for the FTO). Out-of-circuit cases are in accord on this

 point. 3

       Perhaps because of the clarity of subsection (h)’s plain language,

 no case has ever sanctioned a prosecution under § 2339B where the




 3See United States v. Wright, 937 F.3d 8, 26-27 (1st Cir. 2019); United States v. Kaizu,
 559 F.Appx. 32, 37 (2d Cir. 2014); United States v. Hendricks, 950 F.3d 348, 353 (6th
 Cir. 2020); United States v. Jones, 383 F.Supp.3d 810, 816 (N.D. Ill. 2019); see also
 Hosseini v. Nielson, 911 F.3d 366, 376 (6th Cir. 2018).

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 defendant allegedly planned an attack in the United States on the basis

 of sympathy to an FTO, but without any direction or control from the

 FTO. 4 The Supreme Court upheld § 2339B against a constitutional

 vagueness challenge in part because of subsection (h)’s clarification that

 the statute does not capture independent acts done outside of the FTO’s

 direction and control. Holder v. Humanitarian Law Project, 561 U.S. 1,

 23 (2010). Expanding on this point, the Court explained:

             “[S]ervice” similarly refers to concerted activity,
             not independent advocacy. See Webster’s Third
             New International Dictionary 2075 (1993)
             (defining “service” to mean “the performance of
             work commanded or paid for by another: a
             servant’s duty: attendance on a superior”; or “an
             act done for the benefit or at the command of
             another”).      Context confirms that ordinary
             meaning here. The statute prohibits providing a
             service “to a foreign terrorist organization.” §
             2339B(a)(1) (emphasis added). The use of the word
             “to” indicates a connection between the service and

 4 When pressed for analogous cases by the magistrate judge, the Government
 mentioned four: United States v. Osmakac, United States v. Saipov, United States v.
 Al-Arian, and the case of Omar Mateen. (R. at 48-50). Mr. Osmakac was not charged
 under § 2339B. United States v. Osmakac, 868 F.3d 937, 947-48 (11th Cir. 2017).
 The Saipov case is still pending trial. United States v. Saipov, No. 1:17-cr-722-VSB
 (S.D.N.Y. 2017). The defendants in Al-Arian were charged under § 2339B, but the
 jury was not charged that it could consider “personnel” as a basis for providing
 material support. United States v. Al-Arian, No. 8:03-cr-77-T-30-TBM (Doc. 1431).
 Omar Mateen was not prosecuted because he was killed. Mr. Mateen’s wife was
 prosecuted for her husband’s attack, and was acquitted. United States v. Salman,
 No. 6:17-cr-18-Orl-40KRS (Doc. 336).
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              the foreign group. We think a person of ordinary
              intelligence would understand that independently
              advocating for a cause is different from providing
              a service to a group that is advocating for that
              cause.

 Id. at 23-24. 5 Thus, as subsection (h) makes abundantly clear, the

 provision of personnel “to” the FTO does not qualify as material support

 when it is undertaken independently and without concerted activity,

 and when done outside the direction and control of the FTO.

       Consistent with these principles, at least one court has rejected a

 Government effort to prosecute a defendant for providing himself as

 “personnel” to conduct an attack outside of the organization’s direction

 or control, albeit in a different, but closely related, context. See United



 5 While the Government disclaimed any allegation that Mr. Al-Azhari attempted to
 provide a “service” under § 2339B at the hearing, (R. at 47), like “personnel,” “service”
 does not include independent activities. See Humanitarian Law Project, 561 U.S. at
 24 (“Moreover, if independent activity in support of a terrorist group could be
 characterized as a ‘service,’ the statute’s specific exclusion of independent activity in
 the definition of ‘personnel’ would not make sense. Congress would not have
 prohibited under ‘service’ what is specifically exempted from prohibition under
 ‘personnel.’ The other types of material support listed in the statute, including
 ‘lodging,’ ‘weapons,’ ‘explosives,’ and ‘transportation,’ § 2339A(b)(1), are not forms of
 support that could be provided independently of a foreign terrorist organization. We
 interpret ‘service’ along the same lines. Thus, any independent advocacy in which
 plaintiffs wish to engage is not prohibited by § 2339B. On the other hand, a person
 of ordinary intelligence would understand the term ‘service’ to cover advocacy
 performed in coordination with, or at the direction of, a foreign terrorist
 organization.”).
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 States v. Abu-Jihaad, 600 F. Supp. 2d 362 (D. Conn. 2009). In Abu-

 Jihaad, the defendant consumed jihadist propaganda from an

 organization called Azzam. The defendant even corresponded with the

 organization, discussing current events and his thoughts on jihad.

 Azzam published a request to send resources to the Taliban, and

 exhorted its readers to assist in violent jihad. Then, the defendant sent

 Azzam sensitive information about U.S. naval ship movements and

 ammunition. However, there was no evidence that Azzam requested

 the information from Mr. Abu-Jihaad, or coordinated or directed him to

 provide it. 600 F. Supp. 2d at 366-75, 380-82, 401-02.

      Mr. Abu-Jihaad was charged under § 2239B’s companion statute,

 § 2239A. That statute, which provides the definition of “material

 support” for § 2339B, does not include § 2339B(h)’s express limitation

 on the word “personnel.” The court explained that, “as an initial

 matter, the Court must decide whether the amended definition of

 ‘personnel’ in § 2339B applies to § 2339A as well, for even the

 Government concedes that if the amended definition in § 2339B applies

 to § 2339A, the evidence is wanting.” Id. at 399. Deciding that the


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 subsection (h) clarification does not apply to § 2339A, the court adopted

 a definition of “personnel” for § 2339A: “one who makes resources in

 the form of individuals (including himself) available, or furnishes

 individuals (including himself), for the purpose of actively preparing for

 or carrying out the crimes prohibited by the statute through some form

 of coordinated action is guilty of violating § 2339A.” Id. at 400.

 Conversely, “[e]ntirely independent action is not sufficient to qualify as

 being at least ‘active in’ an organization as required by the definition of

 personnel.” Id.

      Applying this formulation to the facts before it, the court ruled

 that the Government’s evidence was insufficient. Id. at 402. Noting the

 lack of any coordination between Azzam and the defendant, the court

 explained:

              The Government recognizes this gap in the
              evidence and seeks to get around it by pointing to
              a general request by Azzam to its readership in
              November 2000, in which it sought aid for the
              Taliban by requesting money, gas masks, or
              battlefield medical services. Of course, Azzam also
              exhorted its readers to assist in violent jihad. But
              to build a quid pro quo or understanding from
              these generalized requests for assistance is more
              than the evidence will bear, even taking all

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            reasonable inferences in the light most favorable
            to the Government.

 Id. at 401-02.

      Here, Agent Hazel’s testimony narrowed the Government’s theory

 to that of Mr. Al-Azhari attempting to provide “personnel” to ISIS. (R.

 at 36-39). Further, Agent Hazel testified that Mr. Al-Azhari did not

 attempt to place himself under ISIS’s direction or control, and did not

 attempt to be an organizer, supervisor, or director of operations for

 ISIS. (R. at 39-41). There is no evidence, as there was in Suarez and

 Augustin, that Mr. Al-Azhari tried to join the FTO or work under its

 direction. Thus, even accepting at face value the Government’s

 evidence as to the historical facts, a straightforward application of

 subsection (h) demonstrates that there is not probable cause to believe

 that Mr. Al-Azhari committed the offense charged in the complaint. He

 took no substantial step, nor any step at all, to place himself or anyone

 else under ISIS’s direction and control, and did not intend to do so.

      The Government’s response at the hearing was that ISIS exhorted

 its followers to commit “lone wolf” attacks, and that is what Mr. Al-

 Azhari attempted to do: he “affiliated himself” with ISIS, “consumed

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 [their] directives,” and consumed their “propaganda telling people to

 carry out attacks.” (R. at 54-55). But this understanding of § 2339B

 would render subsection (h) meaningless. As in Abu-Jihaad, a

 listener’s consuming propaganda and exhortation does not place the

 listener under the speaker’s “direction or control,” even if the listener is

 persuaded to act. And, subsection (h) insulates from liability anyone

 who independently advances the FTO’s goals and objectives. Congress

 did not simultaneously protect those who independently advance the

 FTO’s goals and punish those who act knowing what the FTO’s goals

 are. Accordingly, the magistrate judge erred by finding that there is

 probable cause to believe that Mr. Al-Azhari committed an attempted

 violation of § 2339B. This Court should therefore dismiss the complaint

 and discharge Mr. Al-Azhari. See Fed. R. Crim. P. 5.1(f)

       WHEREFORE the Defendant, Mr. Al-Azhari, prays this Court

 will dismiss the complaint and discharge him.

       DATED this 15th day of June 2020.

                                           Respectfully submitted,

                                           JAMES T. SKUTHAN
                                           ACTING FEDERAL DEFENDER

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                                          /s Samuel E. Landes
                                          Samuel E. Landes
                                          D.C. Bar No. 1552625
                                          Assistant Federal Defender
                                          400 North Tampa Street
                                          Suite 2700
                                          Tampa, Florida 33602
                                          Telephone: (813) 228-2715
                                          Facsimile: (813) 228-2562
                                          Email: Samuel_Landes@fd.org


                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 15th of June 2020, a true and

 correct copy of the foregoing was filed with the Clerk of the Court using

 the CM/ECF system, which will send a notice of the electronic filing to:

      AUSA Patrick Scruggs.

                                          /s Samuel E. Landes
                                          Samuel E. Landes
                                          Assistant Federal Defender




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